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                                                      May 13, 2020
VIA ECF
Hon. Vernon S. Broderick
United States District Court
Southern District of New York
40 Foley Square, Room 415
New York, NY 10007

       Re:     Luna and Rios v. Fratelli Italiani, LLC and Kavita Jagnarine,
               No. 19-cv-10849 (S.D.N.Y.) (VSB)

Dear Judge Broderick:

       This firm represents Fratelli Italiani, LLC and Kavita Jagnarine, defendants in the above-
referenced action. On behalf of all parties, we write in response to this Court’s May 10, 2020 Order
(Dkt. 16), which directed the parties to submit a joint letter and proposed case management plan and
scheduling order by May 15, 2020, and respectfully request that the parties’ deadline to submit these
papers be extended to July 9, 2020.

         This action was referred to mediation pursuant to this Court’s Mediation Referral Order (Dkt.
15), filed on February 13, 2020. The mediator recently selected a mediation date of June 18, 2020,
which was not entered on the docket until May 12, 2020. In light of the upcoming mediation, the parties
request that the deadlines set forth in the May 10, 2020 Order be adjourned until July 9, 2020, which is
three weeks after the date of the mediation, to give the parties and their counsel the opportunity to
devote their time and effort toward a successful mediation.

        The parties have not made any prior requests for adjournments or extensions of the deadlines set
forth in this Court’s May 10, 2020 Order.

       Thank you for your attention to this matter.

                                                      Respectfully,
                                                      /s/ Grant A. Shehigian
                                                      Grant A. Shehigian

cc:    Counsel of Record (via ECF)
